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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION



      MWK RECRUITING, INC,

            Plaintiff
                                                          Case No. 1:18-cv-00444-RP
            v.

     EVAN   P.  JOWERS,
YULIYA VINOKUROVA, LEGIS
VENTURES (HK) COMPANY
LIMITED, AND ALEJANDRO
VARGAS,

            Defendants


      EVAN P. JOWERS,

            Counterclaimant

            v.

MWK RECRUITING, INC.,
ROBERT E. KINNEY,
MICHELLE W. KINNEY,
RECRUITING PARTNERS GP, INC.,
KINNEY RECRUITING LLC,
COUNSEL UNLIMITED LLC, and KINNEY
RECRUITING LIMITED,

            Counterdefendants




                           ORDER ON MOTION TO COMPEL

    Before the Court is Plaintiff MWK Recruiting Incorporated’s Motion to Compel discovery
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responses by Defendant Evan Jowers (“Jowers”), Legis Ventures Hong Kong Company Limited

(“Legis”), and Kirkland & Ellis, L.L.P. (“Kirkland”). Having considered the motion and the

arguments of counsel, the Court is of the opinion that the Motion should be GRANTED.

       The Court finds that, because of his tight connection to Legis, including but not limited to

the use of Jowers’s personal name as the web address and DBA for Legis, Jowers’s intimate

knowledge of Legis’s banking relationships, and Jowers’s status as a “Founder” of Legis, Jowers

is in possession, custody, or control within the meaning of Rule 34 of all information and

documents that are in the possession, custody, or control of Legis. Jowers’s objections based on

his status as an employee of Legis are therefore OVERRULED and Jowers is hereby ORDERED

to fully respond within 14 days of the date of this order to the discovery requests propounded by

MWK as detailed in the Motion, producing all responsive information that is owned by Jowers or

by Legis. Furthermore, the Court finds that Jowers’s employment agreement’s restrictive

covenants extended by their terms to cover one year following any period during which he was in

violation of those restrictive covenants. Whether those restrictive covenants are enforceable

strictly by their terms is not a matter before the Court with the instant Motion, but the relevance of

the requested information is clear. Therefore, information and documents related to placement

activity of Jowers or Legis that occurred more than one year after Jowers’s employment with

MWK terminated is relevant and Jowers’s objections based on relevance are therefore

OVERRULED. Jowers is ORDERED to fully respond to MWK’s discovery requests without

any time post-employment time limitation. To the extent that Jowers requires additional time,

Jowers is ORDERED to detail what categories of information require extra time for him to gather

and to give a date certain when such information will be produced.

       The Court further finds that Legis was properly served with a subpoena under Rule 45 by

MWK. Legis is, therefore, ORDERED to respond in full within 7 days to the subpoena served



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and within 14 days to any future subpoenas issued in this case. Substituted service of future

subpoenas by MWK on Legis through Legis’s counsel at DLA Piper is hereby APPROVED.

        The Court further finds that the subpoena issued under Rule 45 to Kirkland & Ellis, L.L.P.,

as modified in the communications between counsel for MWK and counsel for Kirkland detailed

in the Motion before the Court was proper. Kirkland is ORDERED to fully respond to such

subpoena and to cooperate in good faith with regard to any further subpoenas that may be issued

in this case.

        It is SO ORDERED this _____ day of __________, 20___.




                                                     ROBERT PITMAN
                                                     UNITED STATES DISTRICT JUDGE




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